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                   EXHIBIT C-2
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                                                                                         DALLAS COUNTY QTEXASNO

                                                                                                     CASE NO:
            .
                twenty ﬁrst day 0f July, twenty twenty

                KENT SHAY BROWN JR
                c/o 11807 Westheimer Road, Suite 550-531
                Houston, Texas [77077-9998]                                                     NOTICE OF PETITION FOR A
                                                                                                VERIFICATION OF DEBT ELSE
                           Plaintiff,                                                           RELEASE OF CLAIM

                Vs.                                                                             NO VALUE
                EXETER FINANCE CORPORATION
                222 LAS COLINAS BOULEVARD, WEST SUITE                                    1800
                IRVING, TEXAS 75039

                           Defendant.


                Cc:
                           Honorable Kenneth Paxton, Attorney General 0f Texas
                           Honorable Ruth R. Hughs, Texas Secretary 0f State
                           Honorable David F. Bragg, Assistant Attorney General, Consumer Protection and                                 Antitrust
                           Division of Texas


                                             NOTICE OF PETITION FOR A VERIFICATION OF DEBT
                      NOTICE T0 PRINCIPLE Is NOTICE T0 AGENT; AND NOTICE T0 AGENT Is NOTICE T0 PRINCIPLE

                Loan Number:

                           Plaintiff               KENT SHAY BROWN JR                                 requests veriﬁcation 0f debt from
                Defendant,                         EXETER FINANCE CORPORATION                                  .   In order t0 establish whether
                Defendant has standing t0 bring forth remedies entitled t0 Defendant, Plaintiff requests the Defendant                               t0
                produce the following as proof 0f claim within 30 days 0f this notice.


                1)The ORIGINAL UNALTERED WET INK SIGNATURE PROMISSORY NOTE and other
                documents listed below, signed by Plaintiff in association t0 the loan pursuant 0f USC Title 18, Part1,
                Chapter 101 §2071.


                These documents should also include                    all   0f these evidentiary documents proving the validity 0f the
                Promissory Note:
                1) Form S3 registration statement

                2)   Form 424(b)(5) prospectus (for the SEC)
                3)   Form FR 2046 balance sheets
                4)   Form FR 2049 balance sheets



                Notice ofPetition                                                                                            document: Notice.exe.07202020
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5)        Form FR 2099 balance                       sheets


2) These documents represent proof that the Defendant is in fact the Note Holder in Due Course and have
standing as a damaged party of interest in the Promissory Note as Plaintiff has reason t0 believe the
Defendant has sold the Note under “mortgage back securities instrument” t0 investors under a pooling
interest.



3) Defendant t0 stipulate Via afﬁdavit that they are in fact the Creditor in this loan/security instrument. A
Creditor needs t0 show true double entry accounting debits of the loss as a result 0f the issuance 0f the
loan t0 Plaintiff according t0 the Generally Accepted Accounting Principles                                                (GAAP).

If Defendant cannot                     produce proof 0f claim, they have n0 standing                       in   any future controversy.

If Defendant              is       unable t0 produce proof 0f claim, Plaintiff prays the court t0 order the Defendant t0
release          all   claims against Plaintiff and grant rightful remedies due Plaintiff.


                                                                                                                                      Respectfully Submitted.


Further Plaintiff Saycth Naught.


I,Kent-Shay, Junior: Brown, afﬁrm under penalty 0f perjury, under the laws
0f the United States 0f America, that the foregoing is true and correct t0 the best 0f my
knowledge and belief so help me God. [28                                        USC   1746(1)]
                                                       x                                      x2
                                        ,




Executed           this        mwdg/                 @WJﬂL           day 0f             ‘Q/dﬁj/             two thousand twenty.
                                                                                        /     x


                                                                                                                                                       Sincerely,
                                                                                                                                                WithOut Prejudice


                                                                                                                              7




                                                                                                                                  Kent-Shay, Junior: Brown
                                                                                                           Authorized        Representativzeiaﬂlii’ving  Man,
                                                                                      Attorney-in-Fact, sui juris, for            KENT SH$¥          BROWN JR
                                                                                                     c/o   11807 Westheimer Road, Suite 550-531
                                                                                                                    Houston, Texas [77077-9998]
                                                                                                                                  (720)450—4837



     Texas       state                           §
                                                 §    ss.

     Harris      County                          §


     On    the    a       l
                                     day    of

                                                                %       2020, Kent-Shay, Junior: Brown appeared before me by special
                                                                            ,




                                                                                                                   M
     restricted visitation,            made      oat            nd pr ved me to be the man who subscribed to the
                                                                                to
     attached instrument and afﬁr                           g
                                                            d the foregoing acknowledgement to be his freewill, act and deed.



     In   Witness       of,    I   have hereunde set              my hand and         seal   thism    day of                           .
                                                                                                                                                   2020.
                                                                                                                   Via   uvmx‘exztﬂrwmmK-zwa:




                                                 '
     Notary              HI"            b
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                       Certiﬁcate of Service


     Plaintiff hereby certify, that   0n   thismday 0f [July, twenty twenty], a true and complete copy 0f
the foregoing Notice ofPetition for Validation ofdebt,           by depositing same Via ﬁrst     class postage prepaid


United States Postal Service mail, has been duly served;         in   accordance with Rule 21a, Texas Rules 0f Civil


Procedure; 0n the following:



Honorable Felicia Pitre, District Clerk
Dallas County, Texas
600 Commerce Street, Suite 103
Dallas, Texas 75202


ADDRESS OF DEFENDANT OR ATTORNEY FOR DEFENDANT
EXETER FINANCE CORPORATION
222 LAS COLINAS BOULEVARD, WEST SUITE 1800
IRVING, TEXAS 75039

Honorable Ruth R. Hughs, Texas Secretary 0f State
Post Ofﬁce Box 12887
Austin, Texas 78711


Honorable David         F. Bragg, Assistant Attorney   General
Consumer Protection and         Antitrust Division,   Ofﬁce 0f Attorney General
Post Ofﬁce Box 12548
Austin, Texas 78711


Attorney General Kenneth Paxton
Post Ofﬁce BOX 12548
Austin, Texas 7871 1-2548




and, Plaintiff further certify that the mailing sent t0 the   last recipient listed   above, Attorney General Kenneth


Paxton 0n behalf 0f STATE          OF TEXAS, was      sent Via certiﬁed mail, return receipt requested.




                                               RESPECTFULLY SUBNHTTED.




Notice of Petition                                                                              document: N0tice.exe_07202020
